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UNITED STATES DISTRICT COURT jl —
CENTRAL DISTRICT OF CALIFORNIA
United States of America, eo
Plaintiff, 8:22-mj-718-Duty
Vs
VARUN AGGARWAL ADVISEMENT OF
DEFENDANT'S STATUTORY &
Defend CONSTITUTIONAL RIGHTS
efendant.

 

 

You are in the United States District Court for the Central District of California because you have been charged
with a crime against the United States or a violation of probation, supervised release, or pretrial release. The
Court informs you that you have the following constitutional and statutory rights in connection with these
proceedings:

You have the right to remain silent. Anything you say, sign, or write can be used against you in this or in
any other case.

If you have not already received a copy of the charges, you will receive a copy today.

You have the right to hire and be represented by a lawyer of your choosing at each and every stage of
these proceedings. If you cannot afford to hire a lawyer, you can apply to the Court to have a lawyer appointed
to represent you for free from the office of the Federal Public Defender or the Indigent Defense Panel. The
application for free counsel includes a financial affidavit, which you must sign under penalty of perjury. If you
say something on the form that is not true or leave out material information, you could be charged with another
crime, such as perjury or making a false statement.

If you are not a United States citizen, you may request that the prosecution notify your consular office
that you have been arrested. Even without such a request, the law may require the prosecution to do so.

IF YOU ARE MAKING YOUR INITIAL APPEARANCE BEFORE THE COURT

You have a right to a bail hearing in which the Magistrate Judge will determine whether you will be
released from custody before trial. If you disagree with the Magistrate Judge's decision, you can appeal that
decision to another Judge of this Court. You or the prosecutor can request that the bail hearing be continued to
another day.

If you have been charged by complaint, you are entitled to a preliminary hearing within 14 days if the
Magistrate Judge orders that you be detained pending trial, or 21 days if the Magistrate Judge orders that you be
released pending trial. In a preliminary hearing, the prosecution will attempt to show that there is probable
cause to believe that you committed the crime charged in the complaint. You will not be entitled to a
preliminary hearing, however, if the prosecution obtains an indictment in your case before the time set for the
preliminary hearing. (Most often, the prosecutors in the Central District of California present their cases to the
grand jury before the time set for the preliminary hearing and, therefore, no preliminary hearing is held.)

IF YOU ARE CHARGED WITH A VIOLATION OF
YOUR CONDITIONS OF SUPERVISED RELEASE OR PROBATION

If you are charged with a violation of the terms and conditions of your supervised release or probation
and the Magistrate Judge detains you, you have the right to a preliminary hearing before a Magistrate Judge.

 

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continued on Page 2
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IF YOU ARE CHARGED IN ANOTHER DISTRICT

If you have been arrested on a charge from another district, you are entitled to wait until the prosecution
produces a copy of the warrant authorizing your arrest. You are also entitled to an identity hearing in which the
prosecution would have the burden of proving there is probable cause to believe that you are the person named
in the charges. If you are charged in a complaint from another district, you may request to have a preliminary
hearing held in the charging district. If you are charged with a violation of a term of supervised release or
probation imposed in another district, you have a right to a preliminary hearing, which may, depending on
where the alleged violation occurred, be held either here or in the charging district.

If you want to plead guilty in the Central District of California, you may request to have your case
transferred to this district. To proceed in this district, the United States Attorneys for this district and the
charging district must agree to the transfer.

IF YOU ARE APPEARING FOR ARRAIGNMENT

If you have been charged by indictment or information, you will be arraigned and may be asked to enter
a not guilty plea today. After your arraignment, your case will be assigned to a District Judge of this Court for
all further proceedings, unless a Judge has already been assigned.

You are entitled to a speedy and public trial by jury. The right to a jury trial can be waived.

You are entitled to see and hear the evidence and cross-examine the witnesses against you. You are
entitled to the processes of the Court to subpoena witnesses on your behalf without cost to you if you are
indigent. You do not have to prove your innocence. The prosecution has the burden to prove your guilt
beyond a reasonable doubt.

 

ACKNOWLEDGMENT OF DEFENDANT:

I have read the above Advisement of Rights and understand it. I do not require a translation of this statement
nor dol require aninterpreter for court proceedings, a

pated:_1// 4/22 Me Lotte

os /_aignature of Defendant

 

 

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[or] =

I have personally heard a translation in the language read to me and

understand the above Advisement of Rights.

Dated:

Signature of Defendant

STATEMENT OF THE INTERPRETER:

I have translated this Advisement of Rights to the Defendant in the language.

Dated:

Signature of Interpreter
Print Name of Interpreter

STATEMENT OF COUNSEL:

I am satisfied that the defendant has read this Advisement of Rights or has heard the interpretation
thereof and that he/she understands it. |

Dated: (1/4/22
7 ? \__ Signature of Attorney

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